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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


UNITED STATES OF AMERICA


v.                                                   CRIMINAL ACTION NO. 3:10-00038-03

DOUGLAS E. YOUNG
    also known as “Lucky”


                                            ORDER

         Pending is the Defendant’s Motion to Revoke Detention Order (Doc. 43). The Court heard

argument on the motion on March 31, 2010. As stated on record during the hearing, the Court

GRANTS the Defendant’s motion. Defendant is not a flight risk and he has established that he is

not a risk to the community, as a result of a serious and debilitating medical problem. Defendant’s

medical issues, and the assertion that he is not a risk to the community were corroborated by his

physical appearance at the time of the hearing, where his infirmity was obvious. Further, the

continued detention of Defendant (as he must be moved to a medical facility in South Carolina)

would greatly interfere with his ability to communicate with counsel. The Court FINDS, after

considering the relevant factors of 18 U.S.C. § 3142, that there is a reasonable alternative to

detention to ensure the safety of others in the community and the future appearance of Defendant.
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       The Court ORDERS that Defendant be subject to home detention and all of the standard

conditions and terms of home detention. Additionally, the Court DIRECTS the probation office

to consider the use of electronic monitoring and impose it upon Defendant at their discretion.

Finally, the Court DIRECTS the Clerk to send a copy of this Order to counsel and the defendant,

the U.S. Attorney’s Office, the U.S. Probation Office, and the U.S. Marshals’ Service.



                                            ENTER:         March 31, 2010




                                            ROBERT C. CHAMBERS
                                            UNITED STATES DISTRICT JUDGE




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